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Exhibit 152
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Case 1:20-cv-10832-AT-SN Document 830-46 Filed 06/13/23

Fo: Seaman, Michael P .GOV]: Fredrickson, David
R EE GOV). Hinman, Williar GOV]

From: Szezepanik, Valerie

Sent: 2018-06-12T22:10:29-04:00
Importance: Normal

Subject: Fwd: Speech

Received: 2018-06-12T22:10:29-04:00
DRAFT Digital Assets Speech 2018-06-71 1.docx
ATTCO001 btn

This just in- OGC comments. | have not reviewed yet.
Sent from my iPhone
Begin forwarded message:

From: “Jarsulic, Laura" eo.

Date: June 12, 2018 at 8:50:48 PM EDT

To: "Szczepanik, Valerie’ Gov >

Subject: Fwd: Speech

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Here are my thoughts - please keep in mind what | said in my email a minute ago -
you can ignore much of the heavy editing if you'd like - the big issues are
information asymmetry, the idea of deleting the linc about ether as a way of
generating more discussion, and some edits to the description of Howey.

I might have backed out the edits that aren’t highlighted if I had the chance today - so
you're seeing part of my process in all it’s ugliness and I apologize! But I don’t

want to cause further delay.

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sset Transactions: Commented [A1]: Please insert the standard disclaimerin a
a footrota: ie

 

    
   

   

The Securit'es and B i§ responsi
any private publication or statement of any SEC employee or:
Commissioner. This speech expresses the author's views and do
not necessarily reflect hose of the Commissicn, the Commussicners,:
1 OF othermembers of she staff.

 

 

 

There has been considerable discussion recently in the press and at legal conferences : -
Commented [A2]: This is a catchy «tle. Sut to the extent that

the speech focuses more on Howey than Gary (and thesfac: that
regarding whether a digital asset offered asa security! can over time become something other many outside the building may not understard tae joke), you could:
change it to something like: “Dagital Asset Iransactions and Howey:
When Is the Sele of aa Orange Tree (or d Token) Just @ Tree, and
‘ curity?”

  

 

 

than a security. I think framing the question that way might miss an important point, which I

 

 

hope to make with my remarks here today.

To start, I think a better line of inquiry is: “Can a digital asset or token that was originally
offered in a securities offering ever be later sold in a manner that does not constitute an offering
of a security?” In cases where the digital asset or token represents a set of rights that give the
holder a financial interest in an enterprise the answer is likely “no.” In these cases, calling the
transaction an initial coin offering, or “ICO,” or a sale of a “Token,” won’t take it out of the

purview of the U.S. securities laws.

But what of those cases where there 1s no longer any central enterprise being invested in
and where the digital asset or token is sold only to be used to purchase a good or service
available through the network on which it was created? I believe in these cases the answer is a
qualified “yes,” and I°d like to share my thinking with you today about the circumstances under

which that could occur.

First, I would like to start with a little background on the new world of digital assets.

Most of you are no doubt quite familiar with Bitcoin and know of blockchain — or distributed

1 Section 2(a)(1) of the 1933 Act [15 U.S.C. § 77b(a)(1)] and Section 3(a)(10) of the 1934 Act [15 U.S.C. §
78c(a)(10)] define “security.” Section 2(a)(1) of the 1933 Act and Section 3(a)(10) of the 1934 Act contain “slightly
different formulations” of the terms “security,” but which the U.S. Supreme Court has “treated as essentially
identical in meaning,” Reves v. Ernst & Young, 494 U.S. 56 at 61, n. 1.

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ledger technology. AsI have come to learn, what may be most exciting about this technology
is the ability to share information, transfer value, and record transactions in a decentralized
digital environment. What does that mean? Payment systems, supply chain management,
intellectual property rights licensing, stock ownership transters and countless other potential
applications can be conducted electronically, with a public, immutable record without the need
for a trusted third party to verity transactions. Using these new networks, one can create digital
information packets that can be transferred using encryption keys. These packets are sometimes
called coins or tokens, and can be obtained through mining, distribution, sale or exchange by
users in the network. Some people believe these new systems will forever transform e-
commerce as we know it. There is excitement around this new technology, and a great deal of
speculative interest. Unfortunately, there also are many cases of fraud. In many regards, it is

still “early days.”

But that is not what I want to focus on today. I am here to talk about how these digital

tokens and coins are being issued, distributed and sold. In order to raise money to develop these

  

 

 

    

new systems, promoters? often sell § theamuelees, rather than sell shares, issue

 

Senta TAS}

Tracks preceding sent

 

notes or obtain bank financing. But, in many cases, the economic substance is the same: funds
are raised with the expectation that the promoters will build their system and investors can earn a

return on the instrument — usually by selling their tokens in the secondary market once the

2T am using the term “promoters” in a broad, generic sense. The important factor in the legal analysis is that there is
a person or coordinated group (including “any unincorporated organization” see 5 U.S.C. § 77n(a)(4)) that is
working actively to develop or guide the deyelopnent of the infrastructure of the network. This person or group
may be, variously, founders, sponsors, developers, or “promoters” in the traditional sense. The presence of
promoters in this context is important to distinguish from the circumstance where multiple, independent actors work
on the network but no individual actor’s or coordinated group of actors’ efforts are essential efforts that affect the
failure or success of the enterprise.

 

 

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promoters create something of value with the proceeds and the value of the digital enterprise

increases.

When we see that kind of economic transaction, it is eae+straightorwerd to apply the
Supreme Court’s “investment contract” test first announced in SEC v. Howey. As you will
remember, the test requires an investment of money in a common enterprise with an expectation

of profit derived from the efforts of others. And it is important to reflect on the facts of Howey.

together with a service contract. urchasers could arrange to service the

  

 

grove themselves -—f-& Tepes.

feo

the assets for a return. In articulating the test for an

AISERES ; largely on the

 

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investment contract, the Supreme Court stressed: “Form [is] disregarded for substance and the

was found to be an investment contract, and hence a security.

 

hy in the Ffowev cays. lokens or coms are often Louie as anasset tha os i use im its

 

own neht -- like an orange tree — countec with a nromise that the asset will be cultivated ina
way that will cause it to grow in valuc. tc be sold later ata profi:. And, as in Zowey, where the
trees were sold to hetel puests. not tarmers. the tokens typically are sald to. a wide audience

tather than persons who are likely to use the tokens on the network orin an application. Fithe

3 SEC v. WJ. Howey Co., 328 US. 293 (1946). Depending on the facts of any given instrument, it may also need to
be evaluated as a possible security under the general definition of security see footnote 1 and the case law
interpreting it.

4 Td. at 298.

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: Commented [A4]: Edit made because in Howey, the Court

 

 
  
 

noted that some purchasers dic not purchase'the service contra
As to the purchasers who bcught only the trees, the Court made
hougn treynad been offered a security, they had not
ht-a security (they bought-only the trees). In

apers, | belleve the facts show that some of the
purchasers dd, in fact, atrarge for a service contract froma
different company (not Howey). In light cf all of these facts, the

_ Howey «est reflects a great.amount of flexibitty in its application.

 
   

 

  
   

:Commented [AS]: Edit made to restect the facts of rowey

:Commented [AG]: Howey enthusiasts (if there areany outside
the SEC?) will know that the service companywas Howey-ia-the-
Hulls.

 
  
   
  
  
  
  

Commented [A7]: The Court found’that only the purchase of
land and service cont-act was the purchase of a security (those wi
: bought land only had not purchased a security),

Commented [A8]: The edits in this paragraph 'are:
: weave Howey into the analysis a bi: more and contin’
fee the prior paragraph.

| Adtrect compartson between the facts in Howey and the facts
presented by most COs 5 helpfulin that it makes it more clear wh\
. the prior paragraph states that it 1s easy to apply Howey to ICOs.

 

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COs we have seen. averwhelminely. urcmoters tout their ability to ereate come ume vative
ICOs we have seen, overwhelmingly, promoters tout their ability to ercate some umevative

appheationef bleckechaintechneless— In both situations — the sales of both the trees and tokens -

theThe investors are passive and..-M marketing efforts are not targeted narrowly and rarely just

 

te-petertalisers-afhe-appheation. But the sale of tokens is. in some ways. even more clearly
the sale afa seeurity than the sale atthe tracein Meneev. In Ten the cranes trees alread.
the salo of a security than the salo of the trees in Newey, In Howey, the orange trees alroady

 

existed and the very concept of cultivazing trees and harvesting oranges is a business model that
ig casy to understand. In tect. the purchasers in oewev were not even required to puichase the

service contract te cultivate the trees. By contrast. in the case of tokens or coins. the And

 

typically is not casy to discern at the outsetsttaneertain, and the purchaser has no choice but to

 

 

rely on the ctforts of others te build the network and make the enterprise a suceess. At the

 

outsctat-stage, the purchase of a token looks a lot like a bet on the success of the enterprise and

not the purchase of something used to exchange for goods or services on the network.

 

As an aside, you might ask, given that these token sales often look like securities
offerings, why are the promoters choosing to package the investment as an ICO or token
offering? This is an especially good question if the network on which the token or coin will
function is not yet operational. I think there can be a number of reasons. For a while, it was
believed such labeling might, by itself, remove the transaction from the securities laws. I think
people now realize labeling an investment opportunity as a coin or token does not achieve that
result. Second, this labelling might be hoped to bring some marketing “sizzle” to the enterprise.
That might still work to some extent, but the track record of ICOs is still being sorted out and
some of the sizzle may now be more of a potential warning flare for investors. Some may be

attracted to a blockchain-mediated crowdfunding process. Digital assets can represent an

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efficient way to reach a global audience where initial purchasers have a stake in the success of

the network and become part of a network where their participation adds value beyond their

 

investment contributions.

   

Liut I believe some industry participants are beginning to realize that, in some
circumstances, it might be easier to start a blockchain-based enterprise in a more conventional
way. In other words, do the initial funding through a registered or exempt equity or debt offering
and, once the network is up and running, distribute or offer blockchain based tokens or coins to
coins ere for use en [he nelwork, nol lor the purpose of secondam market trading. This allows
the tokens or coins to be structured and offered in a way where it is evident that purchasers are

not making an investment in the development of the enterprise.

Returning to the ICOs we are seeing, strictly speaking, the token — or coin or whatever

the digital information packet is called — all by itselfis not 4, |a security, just as the

 

orange groves in Howey were not. Instead. the token or com ‘or orange tree) may or may not be

offered and. sald as a security depending on Ara Centrale deterniaie-whether aseeatiy

 

being sald is-hewit is being sold and the reasonable expectations of purchasers. For example,

 

When someone buys a housing unit to live in:

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" Commented [A9]: We recommending de'eti

: that the bit of code itself is not the security.

 
  
    
 

for two reasons —first, the main discussion of this concept is
presented later in the speecn, and ‘ncludimg © here breaks the flo
of tre speech; and, second, t seers to introcuce afactor or test f
whether a token ts a “utility” that doesn’t appear in the list of

factors attae end of the speech (whether it is used predominanth
purchase goods or servi -

     

 

: Commented [A10]: We suggest this edit because there are
: things that we would say are securities all by themselves ~i.e.,

things that are tn che Securities or Exchange Act definition. Also -
we could imagine a situatior. in which a share in a company.is
instead issued-as atoken. Trat would be the exception to the rule:?

 

 

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mmented [A11]: Wc sugecst moving this toa toathote or
into a parenthetical attached to the case. It might be confusing he
: where a broader point is being made.

 

 

the sare asset car be offered and sold in a wavy that causes mnvestors to have a reasonable
expeciation of profits based on the olferts of othors. For cxamople, ifWhen that samee housing

unit is offered with a management contract or other services-as-aa-iivestaiert, it can be a

= i E ‘Commented [AL2}i

 

security.° k

   

 

And so with digital assets. The digital asset itself is simply code. But the way it is sold —
as part of an investment; to non-users; by promoters to develop their idea — can be, and, in that
context, most often is, a security — because it evidences an investment contract. And regulating
these transactions as securities transactions makes sense. The impetus of the Securities Act is to
remove the information asymmetry between promoters and investors. In a public distribution,
the Securities Act prescribes the information investors need in order to make an informed
decision, and the promoter is liable for material misstatements in the offering materials. These
are important safeguards, and they are appropriate for most ICOs. The disclosure marries nicely
with the Howey investment contract element about the efforts of others. As an investor, the
success of the enterprise — and the ability to realize a profit on the investment — turns on the
efforts of the third party. So learning material information about the third party — its background,

financing, plans, financial stake, and so forth — is a prerequisite to making an informed

5 United Housing Found., Inc. v. Forman, 421 U.S. 837 (1975).

® Guidelines as to the Applicability of the Federal Securities Laws to Offers and Sales of Condominiums or Units in

a Real Estate Development, SEC Rel. No. 33-5347 (Jan. 4, 1973).
= ax Thae,

    

    
   

 

 

 

 

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se Pleirtivst 7 : nes F862 8 id Gi 10eS5. |
keep this < 4 o : ao (rie sh

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investment decision. Unless the third party is compelled by the securities law to disclose what
it alone knows of these topics and the risks associated with the venture, investors will be

uninformed and are at risk.

But what happens if there is no third party or promoter lo make this disclosure? In cther
words, whe Lil the token or eoin’s related network is sufficiently decentralized to the point tha,
there is no person or group on which purchasers would reasonabiv expected lo carn oul essential
manageral or entrepreneurial efforts? Where there ig no person which investors

reasonably expect lo provide those efforts, then#-ae-pettithe steer ihe alter or sale of

 

hale digital asset Hanseeten-may no longer represent a security offering.

 

Commented [A139]: while we agree that a central purpose off
the Securities Act is to address an information asymmetry.{ think
we worry that it does no: folow thattaere is no longer an
asymmetry once a network secomes cecentralizad. There likely ar
stilt people who have far more information {1 e., Buterin likely has :
! far more informationthat retail purchasers o7 Etmer:. In fact,
disclosure Is likely to still be important to surchasers (and
disclosure cou d help address the information asymmetry that is
network becomes t##+decentralized, the ability to identify an issuer or promoter to make the Fes Wes onl care cad Lee eg
- ut the bigger point 1s that i*s no longer an investment contract
once there are no “efforts of oters” to point to— plus, without a
dol lakens in such a group in control,there’s no one to hold responsible for previdng

   

Moreover l’his is. demonstrated by the possibility that, as a

  

disclosure becomes difficult-and-perhep meaningless!

   

deventralived network are more likely to have bought an asset thal was ror offered as part of an The fact that tokens on a sufficientay decentralized network are n
jonger securities — and no longer ate required to register, with all
the benefits te Investors of registration =scems to point out what
might be considered-the “regulatory gap” that exists in this space

  
  
   
 
 
 

ent comiract bec:

    

s there ig na longer a third party w

 

 

tn other words, this speech acknowledges that there is an “other”
category —ot’s not a security because there’s no “controlling” gro
{at least in the Howey sense}, yet, like maay other things
(medication, cred t cards} there may be_a need for regulation to
protect purchasers.

expect to provide Lhe essential managerial or entrepreneurial elTorts.

 

As [referred to earlier, it is a lenestandine principle of tederal securities law that whether

    
 

. oat : . ~ . ‘transition to the next pats
ai_asset is offered or sold as a security tums on the particular facts and ciccumstanees

 

surrounding the offer and sale® Tt follows that an asset that is seld as an investment contract at
one point in time inay at some later pointin time ke sold in ina way that dacs not meet the test

for an wvestinent contract, duc toa change in facts and circumstances,

§ivenin Howev. (the Supreme Courl acknowledged thal the persons who purchased (the trees bul

not the aseric +
HOT The Service fon

 

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And so, when I look at Biteoin_ today, I do not see a central third party that

etiterprige The network on which Bitcoin functions was operational and appears to have been

 

 

highly decentralized from its inception. In other words. it docs not appear that investors can

toacnpyakls
Tay

7 ay
Pea sCHag yy SAPS’

 
 

entrepreneurial efforts-

Over time, there may be other sufficiently decentralized networks where regulating the tokens

that function on them as a security may not be required. And of course there will continue to be

 

areatoeyte- the suecess-ebthe-enterprice. In those cases, application of the securities laws

protects the investors who purchase the coins.

As I have tried to point out, the analysis is not static and the nature of a security does not

     

inhere to the instrument.!° | LIFFOLIN

 

the olTer and sale. We apply the Hower lest al the #m#e of that offer and sale, and can reach a

different conclusion at various points in time, depending on changes in the faeis ard

  

circurrstanzes. Even digital assets with utility in an existing eco-system could be packaged and

saanlatad-entities mayraise-ctherpolexdaarevunderthe federal i}

t

10 'The Supreme Court’s investment contract test “embodies a flexible rather than a static principle, one that is
capable of adaptation to meet the countless and variable schemes devised by those who seek the use of the money of
others on the promise of profits.” Howcy, at 299.

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} caveats in thesentence, it seems that t would be difficult for the

: purchasers or those In the FinTech space). With the senteace, th

4 to focus on the pctential fall out of making a direct s

  

ding

 

Commented [A15]: We suggest making this change because it
seems that tn the future, there may be groups or pezsons tmat do
eppear to be key determinirg factors (but those are not persons

who have control in the dowey sense — rather, they are pessons
that essentially arc fcliowed by the crowa or “allowed” to be a
termining factor).

  

 

Tuummented [A16}]: As above, we suggest deleting this
sentence because of our concern that informational asymmetries
likely dovstill extst In some form, even where an enterprise Is
cecentralized. The applivation of thesecurities laws may have
value, but, as a practical matter, there s not a way to implement
them.

Commented [A17]: We still have reservations avout including 4:
statement directly about Ether nthe speech. Even with the

 

    
   

agency to take a cifferent position on Ether inthe future.

Furtmer the rest of tre paragraph strongly implies that the thinking
applies to Ether, Witaout thesentence about Ether those
implications might generate a useful reaction about Ether (from

teaction seems less lixely to focus on the anaaysis, and more likely
alement

 

about [the:’s status as a security.

 

 

Cammented (fa BE Soggected jue teepeaio thie OP inne

 

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sold as an investment strateay sontractthat can be a awernty. [fa promoter were to place Bitcoin
in a fund or trust and sell interests, it would create a new security. Similarly, investment
contracts can be made out of virtually any asset (including virtual assets), provided the investor

is reasonably expecting profits from the promoter’s efforts.

Let me emphasize an earlier point: simply labeling a digital asset a “utility token” does
not turn the asset into something that is nota security.!! True, the Supreme Court has
acknowledged that if someone is purchasing an asset for consumption only, it is likely not a
security.!? But the economic substance of the transaction determines the legal analysis, not the
labels.!5 The oranges in Howey had utility. Orin my favorite example, the Commission warned
in the late 1960s about investment contracts sold in the form of whisky warehouse receipts.'*
Promoters sold the receipts to US investors to finance the aging and blending processes of
Scotch whisky. The whisky was real — and, for some, had exquisite utility. But Howey was not
selling oranges and the warehouse receipts promoters were not selling whisky for consumption.

They were selling investments, and the purchasers were expecting a return.

We expect issuers and market participants will want to understand whether transactions
in a particular digital asset involve the sale ofa security. We are not trying to play “regulatory
gotcha.” We are happy to help promoters and their counsel work through these issues. We stand
prepared to provide more formal interpretive or no action guidance to market participants about
the proper characterization of a digital asset in a proposed use. In addition, we recognize that

there are implications under the federal securities laws of a particular asset being considered a
11 -T he name given to an instrument is not dispositive.” Forman, at 850.
? Forman, at 853.

13 See footnotes 9 and 10.
4 SEC Rel. No. 33-5018 (Nov. 4, 1969); Investment in Interests in Whisky, SEC Rel. No. 33-5451 (Jan 7, 1974).

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security. We understand that industry participants are working to make their services compliant
with the existing regulatory framework, and we are happy to continue our engagement in this

process.

What are some of the factors we would look to in assessing whether a digital asset is
offered as an investment contract and is thus a security? Primarily, we are looking to the role of a
third party — whether a person, entity or coordinated group of actors -| &

(hal drive Whe pousibilit, ofa return. That question will

 

always depend on the particular facts and circumstances, and this list is illustrative, not

exhaustive:

 

1 Is there a person or @ that has sponsored or promoted the creation and sale
of the digital assets, the efforts of whom play a significant role in the development and

maintenance of the asset and its potential increase in value?

to

 

Would purchasers reasonably believe such efforts will be undertaken and may result ina
return on their investment in the digital asset? Does the promoter continue to expend
funds from proceeds or operations to enhance the functionality and/or value of the system
within which the tokens operate?

3. Are purchasers “investing,” that is seeking a return? In that regard, is the instrument

marketed and sold the general public instead of markcwy to potential users of the

 

network for a price that reasonably correlates with the market value of the good or

service in the network?

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{: efforts.
iy

 

 

 

Commented [A19]: This edit is intended to capture the fact =
that there is ikely to 3e sorre g-ous that is driving the success of
the enterprise — that group may sh ft throughout time, and it ma
only have influence because its ideas are sound and attractive to
others. Sorthe central tssue is whether investors can reasonably
expect a person or group to take control and provide the essenti

   
 
 
   
 
 

  
  

  

 

 

Commented [A20}]: Although we understand the reason for
using the word “orgaaized” rere, it might appear to a reader to

connote that a level of formality is required to meet the Hiowey
test.

 

 

Commented [A21}: We suggest deleting this. Although having:

  
   

astake might show contro! (which could te useful for the Howey
analysis), we worry that ink ng the stake to the person’s motivatio:
might aopear to endorse the idea that there needs to be strict
vertical commonality (1.e., that the interests of the promoter and
the investor need to be aligned — that they'll sot profit from the
success of the. enterprise). The SEC has rejected that view,

 

 

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Commented [A22]: We suggest these edits to address o
concerns with pointirg to informational asyrmetries and whether
: they continue to.exist after decentralization has occurred.

is Is there a person or entity

In-the context of a factor, we also are concerned that pornting to
whether the application of the securities laws makes sense, ard
whether there are information asymmetr es, will encourage woul
be votators toclaim that there have made fulsome disclosure
: outside the context of registration such that there no longer ts a
purpose in applying tue securities laws or requiring registratioy (in
t other words, tney've cured any potential nformation asymmetry). >

 

 

   

  
   
  
 

Cnsriitriénited [A23]: It seems that the decentralized entity co!
continue to have some votirg rights so long as thay dor’t have
: meaningful control.

5 Do the decentralized persons or entities exercise

 

 

control, or are they limited, ig

 

: Commented [A24]: Would this other person or entity exercise

meaningful control suchthat the entity is not really decentralized
: And should the word “decentralized” be usec here? We are askii
In the meantime, are there contractual or technical ways to structure digital assets so they because we aren't sure tow this factor is intended to come out.

. . . . . . . In other words, in order for this to be a “yes, :t’s a security’ facto:
function more like a consumer item and less like a security? I believe so. Again, these are should it read:
: “Do persons or entities exercise meaningful controt over the

: oe : : including through another person or organized group?”
certainly not “get out of jail free” cards, and we would look to the economic substance of the a — a ia

 

transaction, but promoters and their counsels should consider these, and other, possible features.
This list is not intended to be exhaustive and by no means do I believe each and every one of
these factors needs to be present to establish a case that a token is not being offered as a security.
This list is meant to prompt thinking by promoters and their counsel, and start the dialogue with

the staff — it is not meant to be a list of all necessary factors in a legal analysis.

1: r 4 fast
an Talsing Commented [A25]: The edits in this uection are suggested to’
_—_ make clear that a “yes” answer to the question supports the

1 Tg4oken creation commensurate with meeting the needs of users-rather_

 

potential finding of a non-secunty.

capital for the purpose of building a network. wath feedine speculate? rt rere trrnrnrcnenenauencner

 

2. Is it clear that the primary motivation for purchasing the digital asset is for personal use

or consumption, as compared to investment?

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1 or aAre tokensthey distributed in ways to meet users’ needs
rather than hoarded? For example, does the token degrade in value over time or can it
only be held or transferred in amounts that correspond to a purchaser’s expected use?
of a few that can exert influence over the application?

5. Have purchasers made representations as to their consumptive, as opposed to their
investment, intent?

6 tthe-sremercrs

 

econdar nar cet er the-assets-ar-aA re independent actors

setting the price in the secondary market as opposed to a promoter Gor example. uv

 

supporting the price in the sceondary market)?

wt sold, as apposed ta being im an earlier stage of development?

 

8. Is the asset marketed and distributed to potential users as opposed toa the general
public?
9. Are the tokens available in increments that correlate with a consumptive versus

investment intent?

These are exciting legal times and I am pleased to be part of a process that can help
promoters of this new technology and their counsel navigate and comply with the federal

securities laws.

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